Case 7:17-cr-01061 Document 1 Filed in TXSD on 06/22/17 Pa e 1 of 3

AO 91 (Rev. ll/l l) Criminal Comp|aint MW§GM
UNITED STATES DISTRICT C()URTUN 2 2 2017
for the m"cu"

SOUTHERN DISTRICT Of TEXAS

 

 

 

United States of America )
v. )
) CaseNo.W\/{/l~" \\Oq’Y\/\
ALVARADO, NO@ (USC) )
Year of birth: 1998 §
)
Dej?endant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of 6 / 2 l / 2 0 1 7 in the county of Star r in the
S out he rn District of T@Xa S , the defendant(s) violated:

Code Section Ojj"ense Description
21: 841 (a)(l) Possession with Intent to Distribute

Marijuana, approximately 215.0
kilograms, a Schedule I Controlled
Substance.

This criminal complaint is based on these facts:

(See Attachment I).

Continued on the attached sheet j

Complainant' s signature"

Ruben Duran, DEA Task Force Officer

Av PRo\/ed- Printed name and title
Sworn to before a lgne in my presence `

/
Date: 6/22/2017 /@O'U~W 72!@/¢1/0<’~

Judge 's signature

 

 

CHyandSUH& McAllen, TX Dorina Ramos, US Maqistrate Judge
Printed name and title

 

 

l.

Case 7:17-cr-01061 Document 1 Filed in TXSD on 06/22/17 Page 2 of 3

Mwe_m_l

On June 21, 2017, at approximately 9:15 am, U.S. Border Patrol Agents were conducting
line watch duties in an area known as the E & S Head Quarters in the Zone 3 area of
operations of Rio Grande City Border Patrol Station. Border Patrol Agent , observed a tan
Chevrolet Tahoe driving south at a high rate of speed on a dirt road toward the Rio
Grande River in an area known to Rio Grande City Agents as the San Juan water pump.
The area is located on the Rio Grande river bank and is known to be used by narcotics
smugglers. Due to the fact that the vehicle was driving ata high rate of speed and the
close proximities to the river in an area well known for narcotics smuggling U.S. Border
Patrol Agents responded to further investigate, as they drove south in marked Border
Patrol unit they observed one subject emerging from the brush with a life vest jacket
running south towards the river.

At this point responding agents activated their emergency equipment and advised other
agents near the area, via service radio of the possible narcotics being loaded up in the San
Juan Water pump area. Agents observed several subjects some of them Wearing life vest
jackets running south towards the river, away from the Chevrolet Tahoe agents had Seen
driving south. The driver later identified as (ALVARADO, Noe Enrique 09/21/98)
attempted to drive out before coming to a complete stop, as agents got closer about 10 to
15 meters from the Tahoe, agents observed the driver exiting the vehicle wearing a red
shirt and red shorts and ran north into the brush while running from the vehicle, the driver
lost his sandals as he attempted to abscond from the agents

Agents secured the scene, and as they approached the Chevrolet Tahoe agents saw
bundles of suspected marijuana through the open driver door. A Search of the Tahoe
revealed total of 6 large bundles wrapped in brown packaging tape that were inside the
vehicle. Agents securing the Tan Chevrolet Tahoe relayed the description of
ALVARADO who absconded into the brush to other agents in the area. Border Patrol
Agents arrived on scene and started looking for the driver. OHAMA 35A also responded
to the area. A thorough search was conducted of the nearby area and the surrounding
area with negative results. Minutes later, agents observed six subjects in a raft wading
back to Mexico.

About 25 minutes later after an intense search of the area, agents were able to locate and
arrest ALAVARAD(), Noe Enrique north from Where the vehicle With narcotics Was
seized. ALVARADO, Noe was wearing a red shirt, red shorts and without sandals which
matched the description that had been relayed earlier.

Case 7:17-cr-01061 Document 1 Filed in TXSD on 06/22/17 Page 3 of 3

. USBP Agents transported ALVARADO, Noe Enrique, the 6 bundles of marijuana
(215.00 kilos), and the tan Tahoe were transported to the Rio Grande City USBP Station
for processing

. At approximately 12:45 p.m., on June 21, 2017, DEA Special Agents (SA) Joshua
Hansen and DEA TFO (Task Force Officer) Ruben Duran arrived at the Rio Grande City
Texas USBP station. At approximately 1115 p.m. TFO Duran read ALVARADO his
Miranda Warnings and SA Hansen and conducted an interview of ALVARADO which
was recorded by the agents

, ALVARADO stated that three days prior to his arrest he had travelled to Reynosa
Tamaulipas, Mexico to visit a sick family member. While he was in Reynosa stated that
he met a male subject only known to him as Jose LNU. Jose had asked ALVARADO if
he would be interested in picking up a load of marijuana and transporting it north to an
undisclosed location for him. ALVARADO told Jose that he was very interested in
picking up the load of marijuana for Jose.

. ALVARADO advised the agents that the reason why he had agreed to pick up the load
for Jose Was because he had recently been laid off and he was in desperate need of money
to pay his rent and provide for his family. ALVARADO stated that Jose had agreed to
pay ALVARADO $1500.00 U.S. Dollars once he delivered the marijuana

